        Case 21-12238-amc                     Doc       Filed 01/03/25 Entered 01/03/25 18:06:54                               Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 10

 Debtor 1          Leslie Burke
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           21-12238-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                       3
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          4 ____
                                                        ____ 2 ____
                                                                 1 ____
                                                                     2               Must be at least 21 days after date       2/1/2025
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                 855.80
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     630.52
                   Current escrow payment: $ _______________                       New escrow payment:                   597.33
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Leslie      Burke
                 _______________________________________________________                                  21-12238-amc
                                                                                       Case number (if known) _____________________________________
                  First Name    Middle Name    Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Bryan S. Fairman
     _____________________________________________________________
     Signature
                                                                                       Date   12/13/2024
                                                                                              ___________________




 Print:            Bryan  S. Fairman
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________                                                   bfairman@aldridgepite.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
                                                            REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 3
                                  Midland Mortgage
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                                  P.O. Box 26648
                                                                                                                                 Desc Main
                                             Document
                                  Oklahoma City, OK 73126-0648 Page 3 of 10 Loan number:
                                                                                                3843 ANNE STREET
                                                                                            DREXEL HILL PA 19026
                                                                                          Date Reviewed: 11/12/2024
                                                                              Next Escrow Cycle: Feb 2025 - Jan 2026


         LESLIE P BURKE
         3843 ANNE STREET
         DREXEL HILL PA 19026




                                              Escrow Account Statement
   Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
   receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                      pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
   this
                      your loan documents. This statement shows how those expenses affect the amount of your monthly
   statement?         mortgage payment.
   Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
   payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
   change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

   What do I          Please review your escrow statement below, which explains how the shortage will impact your
   need to do         monthly payment. The last page of this statement includes helpful answers to common escrow
                      questions.
   next?
   Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                      currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
   Notices            from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                      obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                      Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                      an attempt to collect a debt, and any information obtained will be used for that purpose.

                      Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                      Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                      that purpose.



   New Monthly Mortgage Payment
   The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
   has changed. Because of this, your mortgage payment has changed to $855.80 beginning with the 2/1/2025
   mortgage payment.

   Monthly Payment                                             Old Payment                  New Payment                  Change
   Principal & Interest                                        $258.47                      $258.47                      None
   Escrow Deposit plus Escrow Shortage or Surplus              $630.52                      $597.33                      Decrease
   Total Monthly Mortgage Payment                              $888.99                      $855.80                      Decrease

   Escrow Bills and Escrow Payment
   The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
   last review and the new amounts we expect to pay from your escrow account between February 2025 and January
   2026.

   Escrow Bills                                   Old Amount                        New Amount                            Change
   Homeowners Ins                                 $2,752.94                         $2,760.05                             Increase
   County Tax                                     $332.38                           $349.00                               Increase
   City/Town Tax                                  $1,495.07                         $1,553.81                             Increase
   School District                                $2,363.71                         $2,367.91                             Increase
   Annual Total                                   $6,944.10                         $7,030.77                             Increase
                                                                                                                                               Page    1 of 3
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   Required Minimum Balance
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   The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
   documents, federal and/or state law. The new required minimum balance in your escrow account is $1,171.78

                                  Your lowest expected escrow balance:                                                                      $1,034.46
                                  Your required minimum balance                                                                             $1,171.78
                                  The difference creates a shortage in your escrow account of:                                               -$137.32
   Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$137.32 in your
   escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
   bolded numbers in the Anticipated Balance and Required Balance columns.


   Expected Escrow Account Transactions
   The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
   as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
   account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
   different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
   future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
   account reviewed to avoid a large shortage or surplus in the future.

                            EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED        REQUIRED
       MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE          BALANCE
                                                                                         Starting Balance                    $3,964.00           $4,101.32
        Feb-25                    $585.89                        -$349.00                COUNTY TAX                          $4,200.89           $4,338.21
        Mar-25                    $585.89                        -$1,553.81              CITY/TOWN TAX                       $3,232.97           $3,370.29
        Apr-25                    $585.89                        $0.00                                                       $3,818.86           $3,956.18
        May-25                    $585.89                        $0.00                                                       $4,404.75           $4,542.07
        Jun-25                    $585.89                        $0.00                                                       $4,990.64           $5,127.96
        Jul-25                    $585.89                        -$2,760.05              HAZARD                              $2,816.48           $2,953.80
        Aug-25                    $585.89                        -$2,367.91              SCHOOL DISTRICT                     $1,034.46           $1,171.78
        Sep-25                    $585.89                        $0.00                                                       $1,620.35           $1,757.67
        Oct-25                    $585.89                        $0.00                                                       $2,206.24           $2,343.56
        Nov-25                    $585.89                        $0.00                                                       $2,792.13           $2,929.45
        Dec-25                    $585.89                        $0.00                                                       $3,378.02           $3,515.34
        Jan-26                    $585.89                        $0.00                                                       $3,963.91           $4,101.23
        Total                     $7,030.68                      -$7,030.77


   Escrow Account History
   This chart shows the estimated and actual activity in your escrow account from 11/1/23 through 11/1/2024. If the servicing of your
   loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
   history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
   ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
   statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
   chart below.

                       PAYMENTS TO                                       PAYMENTS FROM                                                     ESCROW
                         ESCROW                                             ESCROW                                                         BALANCE
    MONTH-
                  Estimated         Actual       Estimated           Description            Actual             Description         Estimated           Actual
     YEAR
                                                                                                     Starting Balance                $4,050.75          $404.32
     Nov-23            $0.00        $725.42            $0.00                                   $0.00                                 $4,050.75        $1,129.74
     Dec-23            $0.00        $635.03            $0.00                                   $0.00                                 $4,050.75        $1,764.77
     Jan-24            $0.00        $635.03            $0.00                                   $0.00                                 $4,050.75        $2,399.80
     Feb-24          $578.67        $706.91         -$332.38       COUNTY TAX               -$349.00         COUNTY TAX*             $4,297.04        $2,757.71
     Mar-24          $578.67        $675.22       -$1,495.07     CITY/TOWN TAX            -$1,553.81        CITY/TOWN TAX*           $3,380.64        $1,879.12
     Apr-24          $578.67        $675.22            $0.00                                   $0.00                                 $3,959.31        $2,554.34
     May-24          $578.67        $675.22            $0.00                                   $0.00                                 $4,537.98        $3,229.56
     Jun-24          $578.67        $675.22            $0.00                              -$2,760.05            HAZARD*              $5,116.65        $1,144.73
     Jul-24          $578.67          $44.70      -$2,752.94          HAZARD              -$2,367.91      SCHOOL DISTRICT*           $2,942.38        -$1,178.48
     Aug-24          $578.67        $675.22       -$2,363.71    SCHOOL DISTRICT                $0.00                                 $1,157.34         -$503.26
     Sep-24          $578.67        $630.52            $0.00                                   $0.00                                 $1,736.01          $127.26
     Oct-24          $578.67        $630.52            $0.00                                   $0.00                                 $2,314.68          $757.78
     Nov-24          $578.67           $0.00           $0.00                                   $0.00                                 $2,893.35          $757.78
      Total        $5,786.70       $7,384.23      -$6,944.10                              -$7,030.77

   * The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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   Paying the Shortage
   There is a shortage in your escrow account, which will be collected over the next 12 months with your monthly
   mortgage payment. There are no additional fees or interest to pay the shortage amount over the next 12 months.


                  Your escrow shortage of $137.32 will be repaid by adding $11.44 to your next 12 monthly payments.
                  This amount is automatically included in your new monthly payment of $855.80 beginning 2/1/2025.

                                                  No action is required by you.




                         What if I have enrolled in an Automatic Payment Plan?
        ·   If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
        ·   If you use an automatic payment program other than Midland’s, please contact your payment administrator
            and ask them to update your payment to the new amount.




                                              Worried About Payments?
        If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
        8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

        You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.



                        Please review the reverse side of this statement for
                          helpful answers to common escrow questions.
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   Frequently Asked Escrow Account Questions
   Q1 What is an escrow account?
     Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
     includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
     your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
     With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
     documents every month instead of once or twice a year.

   Q2 Why did Midland change my monthly mortgage payment amount?
     Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
     mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
     mortgage payment are usually because of changes in your taxes or insurance.
         Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
         rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
         taxing authority if you have questions about changes to your property taxes.
         Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
         your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
         your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
         You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
         insurance bills and your options.

   Q3 How often will my escrow payment change?
     Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
     we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
     more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
     insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

   Q4 Will my automatic payments change to cover my new payment amount?
     If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
     amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
     payment administrator and ask them to update your payment to the new amount.

   Q5 What should I do if I think my escrow bills are wrong?
     You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
     has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
     taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

   Q6 What are my options if my payment increased and I can’t afford a higher mortgage
      payment?
     If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
     us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




    Visit www.MyMidlandMortgage.com/Escrow for additional
    helpful answers to frequently asked escrow questions or
                 contact us at 1-800-654-4566.
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      (Enclosure)

      Voluntary lump-sum payment of escrow shortage
      There is a shortage in your escrow account in the amount of $137.32. If you would like to
      pay the shortage in full rather than repaying it through an increase to your monthly
      mortgage payment, you may use the coupon below. Please note, however, that this is
      not required. If you choose to pay the full shortage, once we receive it, your monthly
      payment will be adjusted to $844.36 per month, effective with your 02/01/2025 payment.




        Please do not send this payment coupon with your regular monthly payment.




                      Midland Mortgage               LOAN NUMBER:
                      P.O. Box 26648
                      Oklahoma City, OK 73126-0648   CUSTOMER NAME:                        LESLIE P BURKE
                                                     PROPERTY ADDRESS:                  3843 ANNE STREET
                                                                                      DREXEL HILL PA 19026


                                                          Total escrow Shortage: $137.32

                                                                     Midland Mortgage - Payment Processing
                                                                     P.O. Box 269074
                                                                     Oklahoma City, OK 73126-9074
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      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 21-12238-amc

      LESLIE BURKE,                                   Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Sarah Valdez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: 3333 Camino del Rio

     South, Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to

     this cause.

              On January 3, 2025, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
              I declare under penalty of perjury that the foregoing is true.



                                                     /s/Sarah Valdez
                                                     SARAH VALDEZ




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     PROOF OF SERVICE
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                                        SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Leslie Burke
     3843 Ann Street
     Drexel Hill, PA 19026


     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     MICHAEL A. CIBIK


     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     KENNETH E. WEST


     UNITED STATES TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                              -2-
     PROOF OF SERVICE
